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                     UNITED STATES BANKRUPTCY COURT
                 EASTERN DISTRICT OF KENTUCKY (LEXINGTON)

IN RE:                                             CASE NO. 18-51740-grs
  EASTERN AIR FLOW, L.L.C.                         CHAPTER 7

                                                   JUDGE GREGORY R. SCHAAF




                                      Debtor
                  ORDER GRANTING MOTION FOR RELIEF FROM
                       AUTOMATIC STAY AND ABANDONMENT
                 2014 Dodge Promaster 1500, VIN: 3C6TRVBG5EE100952

       This matter is before the Court upon U.S. Bank National Association's (“Movant”)
Motion for Relief from Stay and Abandonment (“Motion”) submitted to this Court which
demonstrates that Movant holds a security in the personal property known as 2014 Dodge
Promaster 1500, VIN: 3C6TRVBG5EE100952 and that the obligation by the Debtor exceed
the value of the property and the Debtor is unable to provide Movant with adequate protection,
and therefore for good cause shown, this Court GRANTS the Motion for Relief and
Abandonment. Movant is authorized to proceed with its State Law rights, including, but not
limited to its right to proceed with a repossession and sale of the property known as 2014 Dodge
Promaster 1500, VIN: 3C6TRVBG5EE100952.
       IT IS ORDERED.


                                                      Respectfully submitted,
                                                      /s/ David C Nalley
                                                      David C Nalley (85637)
                                                      Reisenfeld & Associates LLC
                                                      Attorney for Movant
                                                      3962 Red Bank Road
                                                      Cincinnati, OH 45227
                                                      voice: (513) 322-7000
                                                      facsimile: (513) 322-7099
                                                      e-mail: kybk@rslegal.com
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       Pursuant to Local Rule 9022-1, David C Nalley shall cause a copy of this order to be served on
       each of the parties electronically or by regular US mail, designated to receive this order pursuant
       to Local Rule 9022-1 and shall file with the court a certificate of service of the order upon such
       parties within seven (7) days hereof.

       COPIES TO:

              Electronically via ECF Mail:

                      Matthew B Bunch, Debtor`s Counsel
                      matt@bunchlaw.com

                      James D. Lyon, Bankruptcy Trustee
                      jdlyonlaw@aol.com

                      U.S. Trustee
                      ustpregion08.lx.ecf@usdoj.gov

              Via Regular U.S. Mail:

                      Eastern Air Flow, L.L.C., Debtor
                      5721 KY Route 404
                      David , KY 41616-8301




__________________________________________________________________________________________
The affixing of this Court's electronic seal below is proof this document has been signed by the Judge and
electronically entered by the Clerk in the official record of this case.



                                                       Signed By:
                                                       Gregory R. Schaaf
                                                       Bankruptcy Judge
                                                       Dated: Monday, January 07, 2019
                                                       (grs)
